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                    IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH CAROLINA
                             FLORENCE DIVISION

NATIONAL ASSOCIATION FOR THE
ADVANCEMENT OF COLORED PEOPLE,
INC., et al.,

           Plaintiffs,

           v.                                    Civil Action No. 4:18-cv-00554-MGL

CITY OF MYRTLE BEACH, et al.,

           Defendants.




                  MOTION FOR PRELIMINARY INJUNCTION
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        Pursuant to Federal Rule of Civil Procedure 65, Plaintiffs hereby move for an order

directing Defendants City of Myrtle Beach and City of Myrtle Beach Police Department to cease

implementation of its 23-mile traffic loop during the 2019 Black Bike Week held over Memorial

Day weekend. In an explicit effort to minimize participation in Black Bike Week and to

ultimately end the event, the City of Myrtle Beach (the “City”) has imposed a variety of unique

policies and restrictions for the annual motorcycle rally held over that weekend. The traffic loop

has proved to be the most onerous and least justifiable of the measures. Between 10 p.m. and 2

a.m., motorists leaving or attempting to enter hotels, restaurants, or other establishments along

Ocean Boulevard, the primary road in the City, are forced into one-lane, one-way traffic heading

south and may not exit the mandatory traffic loop until they are miles outside of the City. Those

seeking to return to a destination in the northern part of the City, particularly along Ocean

Boulevard, must travel the entire loop back to the one entrance to the Boulevard at 29th Avenue

North. Despite the City’s claims that the traffic loop is supposed to facilitate traffic flow, the

average time to circumnavigate the 23-mile loop is over 4 hours.

        Black Bike Week is indistinguishable from other busy summer weekends in the

oceanfront city—there are comparable numbers of vehicles on the roads and people staying in

hotels. The only difference between Memorial Day weekend and every other weekend is that it is

the sole weekend in the predominantly white City when the visitors are mostly African

American. It is now different for another reason—it is the sole event where the City imposes a

significant traffic plan, let alone requires visitors to drive 23 miles to get to the City’s main

attractions.

        The traffic loop is the latest of a long history of restrictions the City has imposed on the

event since it began in the 1980s. A previous Black Bike Week traffic plan was found to be



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“likely discriminatory” by Judge Wooten in 2005 and the current traffic loop was implemented

only a few years after the expiration of the consent order that resolved that earlier challenge. This

traffic plan was enacted shortly after the City was bombarded with explicitly discriminatory calls

by the predominately-white Myrtle Beach citizenry, tourists, and governing officials to end the

event after shootings occurred during Black Bike Week in 2014 (though the shootings were

never linked to Black Bike Week participants).

       While the City initially acknowledged that the traffic loop was part of an effort to

discourage Black Bike Week attendance, it has now developed post hoc rationales in response to

this litigation. The City now argues that the loop is justified to minimize traffic congestion and

lessen emergency response times. However, the City never established that traffic congestion or

emergency response times were worse during Black Bike Week before implementing the traffic

plan—and publicly available data shows that they were not. Moreover, the data continues to

show that other weekends have more cars, more people, and longer response times than Black

Bike Week, and that the traffic loop does nothing to improve response times or facilitate traffic

flow. Despite this ample, objective evidence of the traffic loop’s failures and the significant

distress that it causes participants, City officials have still not conducted any analysis or

reviewed any data regarding traffic congestion or emergency response times before or after

implementation of the loop. Instead, they continue to rely on their gut feelings regarding the

purported problem and their preferred solution—despite the sociological research showing how

those “gut feelings” can be a product of unconscious and implicit biases which come into play

when predominantly white localities are confronted with predominantly African-American

crowds.

       Very early in this case, Judge Quattlebaum denied Plaintiffs’ motion for a preliminary



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injunction seeking to force the City to use the same traffic plans for Harley Week (a

predominantly white motorcycle rally) and Black Bike Week. The present motion, filed after the

benefit of extensive discovery and expert analysis, is narrowly targeted. At this time, Plaintiffs

seek only to prevent the institution of the 23-mile Black Bike Week traffic loop in 2019, which

has demonstrably discriminatory underpinnings, no articulable justification, and causes

significant, irreparable harm to attendees. As detailed below, the evidence establishes that

Plaintiffs are likely to prevail on the merits of their claim that the 23-mile traffic loop is

discriminatory, that Plaintiffs will suffer irreparable harm if the loop is imposed again in 2019,

and that the balance of equities tips in favor of Plaintiffs who seek an injunction that is in the

public interest. Accordingly, the Court should order the City to cease its use of the 23-mile traffic

loop for Black Bike Week 2019.

                                   FACTUAL BACKGROUND

        The traffic loop is just Myrtle Beach’s latest effort to eradicate Black Bike Week, the

only major event in the predominantly white City primarily attended by African Americans.

        A beachfront City with a tourist- economy, Myrtle Beach attracts large, predominantly

white crowds throughout the spring and summer, including Spring Break, Graduation Week,

Harley Week, Independence Day, and Labor Day. 1 Myrtle Beach developed as a white-only

beach town in the Jim Crow era, while neighboring Atlantic Beach developed in parallel as a

prominent African-American destination. 2 Atlantic Beach was the only resort town in the Grand

Strand where African Americans could vacation. 3`



1
  All exhibits are attached to the declaration of Laura Gaztambide-Arandes (attached as Exhibit
A). Ex. 1 (Rhodes Dep.) at 104:22-106:25; Ex. 2 (Prock Dep.) at 84:2-16; Ex. 3 (Leath 2019
Dep.) at 67:15-68:17; Ex. 4 (COC_000012-13) (67.5% of summer visitors in 2017 were white).
2
  Ex. 5 (PL_016572); Ex. 6 (Evans Dep.) at 16:19-18:7.
3
  Ex. 5 (PL_016572); Ex. 7 (PL_016532); Ex. 6 (Evans Dep.) at 16:19-18:7.
                                                   3
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       Myrtle Beach’s residential population and political leadership remain predominantly

white and the City is highly segregated by race. 4 On Memorial Day weekend, Black Bike Week

comes to town and puts white Myrtle Beach residents and tourists in the unfamiliar and (for

them) uncomfortable position of being outnumbered by a large number of African-American

visitors. 5 Black Bike Week features motorcycles cruising along Ocean Boulevard as well as a

variety of related social gatherings. 6 Its attendees, most of whom are African American, enjoy

the same beach-town amenities that draw other visitors to Myrtle Beach. 7 By now, long-time

Black Bike Week attendees “are mostly middle-aged African Americans” who “barbeque and

spend time together” outdoors “like a family reunion.”8

I.     Pre-2014 Background

       Black Bike Week began in the 1980s in Atlantic Beach, befitting that town’s legacy of

welcoming African-American vacationers to the area when other cities such as Myrtle Beach

refused to do so. 9 But the event quickly outgrew the small Atlantic Beach’s infrastructure, and

Black Bike Week festivities began taking place along Ocean Boulevard in Myrtle Beach, with

attendees staying in Myrtle Beach hotels and dining at Myrtle Beach restaurants. 10




4
  Ex. 9 (Gallagher Rep.) at 4 (Myrtle Beach is 13.6% black; South Carolina is 27% black); Ex.
10 (Pedersen Dep.) at 243:21-244:24 (majority of city leadership is white).
5
  Ex. 1 (Rhodes Dep.) at 146:20-47:7; Ex. 2 (Prock Dep.) at 234:8-16; Ex. 9 (Gallagher Rep.) at
10-15 (discussing sociological research on white efforts to control white spaces and discomfort
and paranoia of whites when confronted with large groups of other races).
6
  Ex. 11 (Jones Decl.) ¶¶ 6-7; Ex. 12 (Johnson Decl.) ¶ 4; Ex. 13 (Graham Decl.) ¶ 5.
7
  Ex. 2 (Prock Dep.) at 234:8-11; Ex. 10 (Pedersen Dep.) at 144:6-11; Ex. 14 (Parnell Rep.) at 5
(86% of the crowd in the area during Memorial Day weekend 2017 were African-American, and
12.9% of the crowd was white); Ex. 13 (Graham Decl.) at ¶ 5 (enjoys “going out to the
restaurants and bars with my friends and my bike club”).
8
  Ex. 15 (Harrison Decl.) ¶¶ 6-7; see also Ex. 16 (McNeill Decl.) ¶¶ 3-5.
9
  Ex. 6 (Evans Dep.) at 14:18-15:1, 16:19-18:7; Ex. 5 (PL_016572).
10
   Ex. 17 (Leath 2004 Dep.) at 112:18-16:18; Ex. 18 (PL_017002) (“But as the festival grew in
attendance . . . attendees looked south for hotels.”).
                                                4
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       By the mid-1990s, Myrtle Beach residents and city officials publicly expressed hostility

toward Black Bike Week, in contrast to their far more welcoming treatment of Harley Week, an

event comparable in size and character but with predominantly white attendees. 11 City officials

objected to the “party atmosphere” and asserted that “black crowds party differently” from white

crowds by gathering outside on the streets and in parking lots whereas whites, including Harley

bikers, gathered indoors at bars and similar places. 12 Myrtle Beach imposed disruptive policies

on Black Bike Week that it did not impose on Harley Week, including increased law

enforcement, zero tolerance for law breakers, and a one-way traffic plan along Ocean Boulevard

with restricted right-hand turns. 13 At one point, former mayor Mark McBride called for the

National Guard to help police Black Bike Week. 14

       Eventually the National Association for the Advancement of Colored People (the

“NAACP”) sued Myrtle Beach for the racially discriminatory treatment. 15 In 2005, Judge

Wooten preliminarily enjoined Myrtle Beach from treating Black Bike Week differently from

Harley Week, finding the disparate treatment of comparable events likely due to racial

discrimination. 16 Judge Wooten found Black Bike Week was the only weekend of the year when




11
   Ex. 3 (Leath 2019 Dep.) at 63:12-64:18; Ex. 19 (PL_030048) (Leath letter); Ex. 17 (Leath
2004 Dep.) at 136:14-38:16 (discussing letter); Ex. 20 (Gildea Dep.) at 55:3-24 (City had
suggested “bringing in dogs and bring (sic) in National Guard” during Black Bike Week); Ex. 3
(Leath 2019 Dep.) at 237:7-18 (saying of Harley Week, “If they are going to be there, we’re
going to try our best to -- to accommodate them.”).
12
   Ex. 21 (PL_025636) (article); Ex. 17 (Leath 2004 Dep.) at 41:2-17; 199:12-202:18 (discussing
article); Ex. 3 (Leath 2019 Dep.) at 274:16-75:24 (affirming 2004 statements).
13
   Ex. 22 (McBride Dep.) at 163:16-65:11; Ex. 23 (DEF01415429-32) (previous expert report of
W. Williams and M. Brown at 3-6); Ex. 24 (DEF01415448-52) (previous expert report of D.
Clarke at 10-14).
14
   Ex. 17 (Leath 2004 Dep.) at 179:20-80:3, 181:17-20, 185:5-13, 188:25-89:3; Ex. 3 (Leath
2019 Dep.) at 254:23-55:2, 265:12-22.
15
   Ex. 25 (2003 Compl.).
16
   Ex. 26 (2005 Op. & Order) at 9-10, 15.
                                                5
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the plan was implemented and that race was considered when developing the plan, noting the

racially coded language used by officials when comparing Black Bike Week to Harley Week. 17

The Fourth Circuit stayed the injunction in a cursory order that expressed no opinion on the

merits. 18 The parties settled prior to any any substantive decision by the Fourth Circuit, with

Myrtle Beach agreeing to treat Harley Week and Black Bike Week comparably until 2010. 19

       In 2008, a shooting incident occurred during Memorial Day weekend. 20 This incident was

unrelated to Black Bike Week or its attendees 21 and reflected a general increase in crime in the

City. 22 The City nonetheless cited it in imposing restrictions on Black Bike Week. Required by

the consent decree to treat the two events equally, the City publicly called for an end to both

events. 23 The City instituted a series of restrictive ordinances affecting both, including a helmet

requirement and a loitering prohibition. 24

       While City officials believed that there were no longer significant numbers of people

attending the Harley Week rally, 25 Black Bike Week continued, to the dismay of white tourists

who disliked sharing “their” vacation resort with people they considered to be wholly unlike

them. They expressed their displeasure to City officials. For example, one tourist complained in




17
   Id. at 9-10.
18
   Ex. 27 (2005 4th Cir. Order) (noting that “[t]he panel expresses no view as to the ultimate
merits of the case”).
19
   Ex. 28 (2006 Settlement Agreement).
20
   Ex. 29 (PL_032708-9) (describing shooting).
21
   Id. (noting that police did not confirm a motive in the shooting).
22
   Ex. 2 (Prock Dep.) at 92:2-22, 227:4-10; Ex. 30 (Gall Dep.) at 153:24-54:9; Ex. 31
(DEF00322540) (City’s compilation of murders since 2013).
23
   Ex. 32 (DEF00705862-63); Ex. 17 (Leath 2004 Dep.) at 82:23-83:9 (“the attendees were really
moving out of the city”).
24
   Ex. 32 (DEF00705862); Ex. 33 (PL_027309-28); Ex. 34 (PL_032421) (prohibiting loitering);
Ex. 35 (PL_024894) (prohibiting congregation in parking lots).
25
   Ex. 1 (Rhodes Dep.) at 157:1-13; Ex. 10 (Pedersen Dep.) at 146:2-17; Ex. 3 (Leath 2019 Dep.)
at 60:19-63:3; Ex. 36 (DEF00764602-3) (2009 radio ad discouraging bikers).
                                                  6
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2013 that Black Bike Week attendees “act like barbarians!” . . . “[T]his is an ‘ILK’ of people

who ought not be allowed to steal your tax revenue..and they are.” 26 Another tourist complained,

“When I arrived I found anything but a family environment. I found ‘Bike Week.’” 27

II.    The City’s Creation of the Traffic Loop

       Against the backdrop of a white City’s long-standing discomfort with Black Bike Week,

three people were killed in a shooting at an Ocean Boulevard hotel during Memorial Day

weekend in 2014. 28 As City officials now acknowledge, no evidence links these shootings or any

of the people involved to Black Bike Week, 29 but the City nevertheless publicly and repeatedly

tied that violent event to Black Bike Week and its attendees. 30 The immediate public backlash

had racial overtones that City officials acknowledged. 31 Complaints describe the (predominantly

black) crowd as criminals and called the attendees “a bunch of animals [who] shoot the place

up,” “delinquents,” “hoodlums,” “heathens,” “thugs,” “a band of raping and plundering

Vikings,” and unable to act in a “civilized manner.” 32 Complainants expressed concerns about

“noise,” “profanity music,” and even the clothing worn by Black Bike Week attendees, such as

“pants hanging down low” and “asses hanging out.”33 Visitors and residents contrasted the

weekend’s predominantly black environment to a more desirable, and predominantly white,

environment: “This beautiful area should not turn into the Chicago or Detroit of the South”; “It’s



26
   Ex. 37 (DEF00009628-29).
27
   Ex. 38 (DEF00713310).
28
   Ex. 39 (PL_017041).
29
   Ex. 40 (PL_017045); Ex. 3 (Leath 2019 Dep.) at 144:14-17; Ex. 1 (Rhodes Dep.) at 201:11-13.
30
   Ex. 3 (Leath 2019 Dep.) at 144:18-45:1; Ex. 41 (PL_016560-61); Ex. 42 (DEF01418314).
31
   Ex. 3 (Leath 2019 Dep.) at 161:9-25; Ex. 43 (Kruea Dep.) at 145:15-46:1; see also Ex. 30
(Gall Dep.) at 68:14-69:21 (acknowledging elements of racist paranoia and racist undertones in
the conversations around Black Bike Week).
32
   Ex. 44 (DEF00113180); Ex. 45 (DEF00389876); Ex. 46 (PL_032820); Ex. 47
(DEF00083653); Ex. 48 (DEF01378374).
33
   Ex. 49 (DEF00072290); Ex. 48 (DEF01378374); Ex. 45 (DEF00389876).
                                                7
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the golf capital of the world. Not Compton!!!” 34 Public Information Officer Mark Kruea

forwarded many racially-charged complaints to other City officials and leaders, at times assuring

complainants that the City was addressing the issue. 35

       With such inflammatory sentiments bombarding City officials, then-Assistant City

Manager John Pedersen initiated internal discussions that would culminate in the traffic loop

with an e-mail stating forthrightly that the object was to “suck the fun completely out of the

event” and make it “go away.” 36 Mayor Rhodes similarly expressed his objective to make

attendance at Black Bike Week less appealing and more arduous. 37 The City drafted an

“Extraordinary Events Ordinance” that described Bikefest as “causing residents and visitors to

fear for their safety” and “engendering anarchy on the public streets and rights-of-way.” 38 In that

ordinance and in other communications, City officials proposed a series of responses consistent

with those views. 39

       Among other policies, City officials quickly coalesced around increased law enforcement

and traffic restrictions, including a more-than-40-mile-long traffic loop that would force Black




34
   Ex. 50 (DEF00079983); Ex. 49 (DEF00072290); see also Ex. 45 (DEF00389876) (urging the
City “to draw a line in the sand and decide whether you want to be known as a family destination
or a destination for derelicts”).
35
   Ex. 43 (Kruea Dep.) at 145:15-46:1, 152:17-54:1; Ex. 51 (DEF00705357) (Kruea responding
that “we saw new heights of violence and crime” and that the City would be addressing “this
unlawful street party”); Ex. 45 (DEF00389876) (Kruea forwarding “destination for derelicts”
email to City Council); Ex. 44 (DEF00113180) (Kruea forwarding “bunch of animals” email to
Leath, Pedersen).
36
   Ex. 10 (Pedersen Dep.) at 189:2-17; Ex. 52 (DEF00015624).
37
   Ex. 53 (PL_017034-35); see also Ex. 30 (Gall Dep.) at 198:3-13 (testifying that politicians at
the time had made promises that they were going to shut the event down).
38
   Ex. 54 (DEF00077049).
39
   See, e.g., Ex. 52 (DEF00015624) (suggesting “as many drug dogs as possible”); Ex. 55
(DEF00076606) (suggesting curfew).
                                                 8
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Bike Week traffic across multiple jurisdictions.40 Their stated aim was to drive Black Bike Week

traffic out of town rather than permit attendees to drive through Myrtle Beach. 41 The City

“settled” for the current 23-mile loop after neighboring jurisdictions balked at a longer one. 42

         Before imposing this loop, the City gathered no data about traffic flow, response time,

rates of crime, or crowd size; 43 conducted no analysis on traffic demand or supply (nor engaged

a licensed traffic engineer to do so); 44 and entirely failed to evaluate whether other, less intrusive

alternatives would accomplish the loop’s purported purposes. 45 Instead, it relied on (almost all

white) City officials’ “observations” and “experiences” regarding Black Bike Week. 46

III.     The Traffic Loop and Its Effects

         Beginning in 2015, and each year since, Myrtle Beach takes a variety of unique actions

for Black Bike Week. It brings in hundreds of additional police officers and instructs them to



40
   Ex. 10 (Pedersen Dep.) at 369:18-70:11 (City was primary driver behind having a loop, and
discussed concept of loop before multi-jurisdictional task force existed); Ex. 56 (Nell Dep. Ex.
2); Ex. 57 (Nell Dep.) at 69:6-14 (confirming map shows 40-mile loop that was being discussed);
Ex. 58 (DEF00557653-5).
41
   Ex. 1 (Rhodes Dep.) at 265:10-20; Ex. 59 (Thomas Dep.) at 152:13-53:2; Ex. 60 (Booker
Decl.) at ¶¶ 5, 8-11.
42
   Ex. 1 (Rhodes Dep.) at 301:19-02:7.
43
   Ex. 59 (Thomas Dep.) at 48:14-22, 164:10-15, 169:12-16 (“never looked at specific numbers
of calls or specific times” and never looked at any data in determining whether and what plan to
use); Ex. 10 (Pedersen Dep.) at 230:7-31:11 (no traffic count numbers considered in assessing
what plan would be implemented); Ex. 2 (Prock Dep.) at 48:23-49:2 (did not rely on any data
regarding emergency response times in formulating the loop); Ex. 3 (Leath 2019 Dep.) at 98:3-
16 (never looked at response times); Ex. 30 (Gall Dep.) at 63:14-64:15, 248:20-50:1, 269:3-9
(City had access to Chamber of Commerce crowd estimates and hotel occupancy data but never
used them or relied on them).
44
   Ex. 61 (Smith Dep.) at 224:20-25:21.
45
   Ex. 10 (Pedersen Dep.) at 232:19-33:4 (“I can’t even imagine what an alternative could be”);
Ex. 3 (Leath 2019 Dep.) at 213:7-19; Ex. 30 (Gall Dep.) at 282:19-24; Ex. 1 (Rhodes Dep.) at
333:12-15 (when asked about alternatives to the loop, stated “Sometimes I don't deal in logic.”).
46
   Ex. 30 (Gall Dep.) at 255:8-16, 259:10-16 (congestion worse during Memorial Day weekend
“measurably in observation and - and that type thing. Not measurably in statistics.”); Ex. 10
(Pedersen Dep.) at 179:8-80:6 (“No data. I know what I saw with my eyes.”); Ex. 1 (Rhodes
Dep.) at 107:19-108:2.
                                                   9
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aggressively and strictly enforce City ordinances. 47 It imposes traffic restrictions, which include

reserving one of the two lanes on Ocean Boulevard for police and emergency vehicles and

making the one remaining lane one-way driving south. 48 It lines about five miles of Ocean

Boulevard with pedestrian barriers. 49 Those policies are not at issue on this motion. At issue,

instead, is what happens at 10 p.m. each evening, when the City—in addition to those policies—

imposes the 23-mile, one-way traffic loop and brings traffic to a virtual stand-still just as many

Black Bike Week attendees are looking to head to dinner, gatherings with friends, or back to

their hotels after an evening out.

       At 10 p.m., the City blocks off all entrances and exits to and from Ocean Boulevard. 50

Thus, motorists may only enter Ocean Boulevard (the primary tourist destination in the City and

a major location for Black Bike Week festivities) at the north end of town. 51 If they wish to leave

Ocean Boulevard, they must continue at a snail’s pace down the entire 5.1 mile stretch until they

reach King’s Highway and are forced to drive another seven miles before reaching the first

opportunity to exit the loop. 52 Drivers seeking to return to Ocean Boulevard must continue in the

loop for another nine miles. 53 Any motorists on Ocean Boulevard who want to travel north

within the City after 10 p.m.—for example, to a hotel or restaurant near the north end of Ocean

Boulevard—must remain in the loop for the entire 23.1 miles, going out of town, up to SC-31




47
   Ex. 8 (PL_016535) (more than 800 officers total in 2017, around 580 of whom are from state,
local, and federal agencies, and 597 officers from 185 agencies in 2016); Ex. 62 (PL_000509);
Ex. 63 (PL_017000).
48
   Ex. 64 (PL_000171-73); Ex. 65 (PL_016152).
49
   Ex. 66 (Clarke Rep.) at 39.
50
   Ex. 30 (Gall Dep.) at 73:19-74:10.
51
   Ex. 67 (NATIVE_HORRY_017203).
52
   Id.
53
   Id.
                                                 10
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and then winding back to Ocean Boulevard at the north. 54




This map shows the traffic loop in red and identifies with solid yellow areas the only places and

directions a car can exit the loop. The dashed yellow arrows show where people travelling in the

vicinity of Myrtle Beach are forced to enter the loop.

       Although City officials discussed implementing the traffic loop and other measures

during Black Bike Week in an effort to drive participants out of the City, end Black Bike Week,

and prevent crime, 55 when this litigation commenced City officials began contending that the

loop has two purposes: easing traffic congestion 56 and lowering emergency vehicle response

times. 57 However, at no point has any City official identified data or analysis demonstrating that

traffic congestion or emergency response times were a more significant problem during

Memorial Day weekend than on any other busy summer weekend in the City of Myrtle Beach,


54
   Id.; Ex. 2 (Prock Dep.) at 162:8-67:1 (possible exits when in loop).
55
   See supra nn. 37-38; Ex. 68 (PL_032828).
56
   Ex. 30 (Gall Dep.) at 177:25-78:20, 227:2-14; Ex. 3 (Leath 2019 Dep.) at 131:19-32:14,
133:23-34:10; Ex. 2 (Prock Dep.) at 151:23-52:5.
57
   Ex. 2 (Prock Dep.) at 153:4-16; Ex. 69 (Preliminary Injunction Hrg. Tr.) at 123:5-17.
                                                11
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nor has the City attempted to demonstrate how the loop, specifically, furthers these goals.

Indeed, analysis of available data demonstrates that the traffic loop dramatically increases traffic

congestion and has no significant effect on emergency vehicle response times.

       Trapping all of Black Bike Week traffic in the one-way loop, with little opportunity to

exit, results in massive gridlock, with traffic barely moving at all. 58 Making matters worse, the

City inexplicably has kept some Ocean Boulevard traffic signals operational while the loop is in

effect—even though cars have no option other than proceeding in the loop—thus slowing traffic

down further as cars wait for pointless red lights to change. 59

       During the 2017 and 2018 Black Bike Weeks, Plaintiffs’ traffic management expert

David Clarke had probe vehicles drive the entire loop with GPS trackers. 60 He found that the

average length of time to travel the entire loop was more than 4 hours. 61 Dr. Clarke performed

the same test during other busy weekends, including Harley Week, Sun Fun Festival, July 4th,

and Labor Day—weekends identified by City witnesses as comparably busy. 62 The average time

to travel the loop route during those weekends was one hour and 7 minutes, showing a 282%

increase in travel time for motorists when the loop is in place during Black Bike Week. 63 There

are not significantly more vehicles or people in the Myrtle Beach area during Black Bike Week

as compared to other busy weekends, demanding the conclusion that the increase in time is a



58
   Ex. 66 (Clarke Rep.) at 28 (“[i]f the city intends for the loop to alleviate congestion on Ocean
Boulevard, it is unclear how this would happen”); id. at 27 (“[u]nless travel demand on Ocean
Boulevard became demonstrably lower during Bikefest than for other peak periods, congestion
and a poorer level of service for those subject to the one-lane restriction are unavoidable.”); id. at
34 (“[c]losure of cross streets very likely contributed to the degradation of Ocean Boulevard’s
performance during Bikefest.”).
59
   Ex. 66 (Clarke Rep.) at 27.
60
   Ex. 66 (Clarke Rep.) at 34.
61
   Id.
62
   Id. at 29, 34.
63
   Id. at 34.
                                                 12
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consequence of the loop (and the absence of exits from it) rather than any increase in vehicles. 64

       Many individual attendees (and residents) report horror stories from their time in the

traffic loop. For example, Joyce Frink, who has bladder cancer and diabetes, was stuck in the

loop for two-and-a-half hours in 2015 as she attempted to drive a mere half-mile. 65 While in the

loop, Ms. Frink’s blood sugar levels rose so high that she had to use her OnStar emergency

button to call for an ambulance, and by the time it arrived, she had urinated on herself three

times. 66 Patrice Johnson spent three hours navigating the loop in 2015, and, after she managed to

exit, needed an additional hour and a half to reach her hotel. 67 These, and many other stories,

show how the loop greatly disrupts enjoyment of Black Bike Week evenings, as visitors sit in

their virtually motionless cars, frustrated, late at night, not knowing when (or if) they will make

it to their hotels. 68 Many motorists—including those not even involved with Black Bike Week—

are confused and surprised when they get caught in the loop and its unmoving traffic. 69

       Those who have endured the loop distort their plans to avoid it, making plans that do not

require being on the road after 10 p.m. or avoiding Black Bike Week altogether. After getting

caught in the loop, Plaintiffs Leslie and Cedric Stevenson took care not to travel further than




64
   Id. at 14-18, 38.
65
   Ex. 70 (Frink Decl.) ¶¶ 6-12.
66
   Id. at ¶¶ 9-10; see also id. at 11 (reporting that her doctor told her that her “symptoms were so
severe that [she] could have died”).
67
   Ex. 12 (Johnson Decl.) ¶ 8.
68
   Ex. 71 (Coleman Decl.) ¶¶ 6, 7 (twenty-minute drive took two hours because of the loop); see
also Ex. 72 (N. Briggs Decl.) ¶ 6 (five minute drive took three hours because of the loop); Ex. 13
(Graham Decl.) ¶¶ 3, 10 (two hours in loop to reach hotel); Ex. 11 (Jones Decl.) ¶¶ 13-14 (took 3
hours, instead of twenty minutes, to get to restaurant because caught in loop); Ex. 73 (C.
Stevenson Decl.) ¶¶ 7, 8; Ex. 74 (L. Stevenson Decl.) ¶ 6.
69
   Ex. 66 (Clarke Rep.) at 40-41 (discussing motorists caught in the loop); see also Ex. 74 (L.
Stevenson Decl.) ¶ 6 (inadvertently caught in the loop); Ex. 75 (Knox Dep.) at 50:10-12 (same).
                                                 13
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walking distance from their hotel in the evenings. 70 This significantly reduces the appeal of an

event built in part around the riding of motorcycles. Plaintiffs Novice and Harry Briggs try not to

leave their room on Ocean Boulevard after 10 p.m. because of the loop, passing up many of the

social gatherings that they used to attend. 71 Many former attendees now stay away altogether;

Black Bike Week attendance has dropped significantly due to the traffic loop. 72

IV.     No Evidence Shows the Traffic Loop is Either Necessary or Effective

        In the face of this mounting evidence as to the loop’s actual effects, the City has

produced no contrary evidence of the loop accomplishing anything productive. Its officials

maintain that the loop alleviates traffic congestion and facilitates response times, but they

acknowledge these views are not based on serious analysis, either prior to the loop’s imposition

or after. 73 The City has declined to collect the data to support such an analysis, though it could

readily do so; for example, it has equipment to count the number and speed of the cars on its

roads but has not used it to measure traffic during Black Bike Week. 74 It has had emergency

response time information for years, but has not analyzed how Black Bike Week compares to




70
   Ex. 74 (L. Stevenson Decl.) ¶ 9; Ex. 73 (C. Stevenson Decl.) ¶ 9; see also Ex. 16 (McNeill
Decl.) ¶ 7 (walks instead of riding motorcycle).
71
   Ex. 72 (N. Briggs Decl.) ¶¶ 3, 5-7, 10; see also Ex. 76 (Anderson Decl.) ¶ 10 (“I did not want
to go out or leave my hotel room.”).
72
   Ex. 10 (Pedersen Dep.) at 139:5-140:6 (estimating reduction in Black Bike Week attendees
since 2014).
73
   See supra nn. 44-45 (no data gathered or analysis done prior to implementation of the loop);
Ex. 1 (Rhodes Dep.) at 268:5-21, 298:17-99:20, 335:10-13; Ex. 43 (Kruea Dep.) at 170:14-17;
Ex. 10 (Pedersen Dep.) at 194:22-95:1; Ex. 30 (Gall Dep.) at 103:7-12.
74
   Ex. 61 (Smith Dep.) at 27:13-16; Ex. 59 (Thomas Dep.) at 68:16-69:2; Ex. 10 (Pedersen Dep.)
at 230:18-24, 246:3-19; Ex. 2 (Prock Dep.) at 179:8-180:1.
                                                 14
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other weekends. 75 Top City officials have never even driven the loop while it was in place. 76

       Yet City officials have acknowledged that the loop has caused traffic congestion at

various times; in its own official debriefing document in 2015, the Public Works Department

concluded that the traffic loop had proven “ineffective at times” in achieving its stated goal of

“keep[ing] traffic moving at a steady pace,” and instead led to “traffic congestion at many

locations within the loop.” 77 And the City has also received countless complaints about traffic in

the loop over the years from participants and non-participant residents alike. 78 Despite all of this

evidence of the loop’s failures, the City has never sought further study. Put simply, the City does

not know the loop’s effects on traffic and response times and chooses not to know.

       If the City reviewed the data in its own possession, it would see that traffic is not heavier,

and emergency response times are not slower, during Memorial Day weekend as compared to

other weekends. Publicly available traffic counts at major roads leading to Myrtle Beach show

that Memorial Day weekend “generates total vehicle volumes similar to other peak weekends

during the year, including Harley Week.” 79 And the City’s emergency response data shows that



75
   Ex. 30 (Gall Dep.) at 143:17-23 (acknowledging that City officials can obtain emergency
response time data); Ex. 59 (Thomas Dep.) at 48:14-22 (never looked at specific numbers of
calls or specific times).
76
   Ex. 10 (Pedersen Dep.) at 196:10-20; Ex. 2 (Prock Dep.) at 196:20-197:23; Ex. 3 (Leath 2019
Dep.) at 180:10-181:5; Ex. 1 (Rhodes Dep.) at 267:18-268:4; Ex. 30 (Gall Dep.) at 98:22-99:4,
276:24-277:11; Ex. 43 (Kruea Dep.) at 165:22-23.
77
   Ex. 77 (DEF00948657-66); see also Ex. 10 (Pedersen Dep.) at 323:19-22 (first year loop was
in place a huge amount of traffic congestion was created); id. at 247:23-248:19 (recognizing loop
could create significant inconvenience to individuals trying to get to Ocean Boulevard); Ex. 30
(Gall Dep.) at 268:2-13 (discussing congestion created by loop).
78
   Ex. 30 (Gall Dep.) at 100:19-101:20; Ex. 10 (Pedersen Dep.) at 322:17-323:18; Ex. 43 (Kruea
Dep.) at 200:13-201:2 (no recollection of talking to BBW participants about loop before
concluding it worked well and relied on City officials, though City “had feedback that would
indicate that some visitors did not think the loop worked well.”).
79
   Ex. 66 (Clarke Rep.) at 15-18; see also South Carolina Department of Transportation,
Historical Data, available at
http://dbw.scdot.org/Poll5WebAppPublic/wfrm/wfrmViewDataNightly.aspx#.
                                                 15
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emergency response times during Memorial Day weekend from 2011-2014 (when no loop was

put in place) were either comparable to or lower than emergency response times during loop

hours when no loop is in place during Labor Day (another busy holiday weekend) and all other

summer weekends from 2011 to 2017. 80

                    Average Emergency Response Times from 10 p.m. to 2 a.m.
 200

 150

 100

     50

     0
          Mem. Day 2011-2014 Mem Day 2015-2017 Labor Day 2011-2017 Other Wknds 2011-
                                                                         2017
                10 p.m.-10:30 p.m.   10:30 p.m.-11 p.m.   11 p.m.-11:30 p.m.   11:30 p.m.-12 a.m.
                12 a.m.-12:30 a.m.   12:30 a.m.-1 a.m.    1 a.m.-1:30 a.m.     1:30 a.m.-2 a.m.


See also Ex. 78 (chart). These data demonstrate that there are no significant distinctions between

Black Bike Week emergency response times before and after implementation of the loop.

          Instead, City officials insist—with no empirical basis and with all objective evidence to

the contrary—that the detrimental effects about which Plaintiffs complain do not exist. City

Manager Pedersen claims it takes only half an hour to drive the loop and that the traffic plan does

not slow traffic but instead “speeds it up,” based solely on observations made while driving by

the loop in the emergency lane along Ocean Boulevard that is closed to non-emergency traffic. 81

City officials also maintain that the loop improves emergency vehicle response time, but—once




80
   Chart compilation of information contained in DEF00003964-75; DEF00008153-64;
DEF00014776-85, DEF00017733-37; DEF00019020; DEF00020843; DEF00025052-63;
DEF00045133-44; DEF00056232-43; DEF00061868-79.
81
   Ex. 10 (Pedersen Dep.) at 196:21-197:15, 232:11-16.
                                                    16
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again—lack evidence to support the assertion. 82 City officials’ statements that the loop solves

some problem during Black Bike Week is solely based on “observation” and “experience.” 83

       City witnesses similarly opine, based on their “observations,” that crowds for Black Bike

Week are substantially larger than those for other busy summer weekends, but actual data

disagree. 84 The Clay J. Brittain Center for Resort Tourism at Coastal Carolina University

calculates hotel occupancy rates for summer weekends in Myrtle Beach. 85 Each year from 2012-

2018, Memorial Day weekend’s occupancy rate was outpaced by July 4th, the last weekend in

July, and the first weekend in August. 86

       The only factual disputes presented by the evidence thus boil down to whether to credit

actual data or City officials’ unsupported “observations” and “experience.” Just as they decline

to consider data, so do City officials refuse to engage in any consideration of alternatives that

would meet their ostensible goals without causing such frustration for Black Bike Week

attendees. For example, Pedersen has considered no alternatives in recent years and says he

“can’t even imagine what an alternative would be.” 87




82
   See supra n. 75.
83
   Ex. 2 (Prock Dep.) at 48:23-49:12 (“relied on personal experiences,” and “law enforcement
partners” but not any data); id. at 230:6-15 (knows amount of people and traffic is higher for
Memorial Day “because of personal experience.”); id. at 110:7-111:7 (using “line of sight”
method to judge hotel occupancy by observing if there are no vacancy signs outside hotels); Ex.
30 (Gall Dep.) at 139:6-14 (no data analysis); Ex. 1 (Rhodes Dep.) at 109:16-110:14 (any
numerical information received would have been “pure speculation”); Ex. 43 (Kruea Dep.) at
165:15-21 (believes traffic is moving in loop based on “observations and experience”).
84
   Ex. 3 (Leath 2019 Dep.) at 150:5-11; Ex. 43 (Kruea Dep.) at 74:24-75:3; Ex. 10 (Pedersen
Dep.) at 157:3-6.
85
   Coastal Carolina University Clay Brittain Jr. Center for Resort Tourism and E. Graig Wall Sr.
College of Business Administration, “The Tourism Economy Study: CCU Lodging Update,”
available at https://www.coastal.edu/business/resort/archives.
86
   Ex. 66 (Clarke Rep.) at 14; id.
87
   Ex. 10 (Pedersen Dep.) at 232:23-233:4; see also supra n. 46 (other City officials who failed to
consider any alternatives).
                                                 17
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                                PROCEDURAL BACKGROUND

       The NAACP and eight individuals who attend Black Bike Week commenced this action

challenging the traffic loop and other City policies regarding Black Bike Week. They bring

claims under 42 U.S.C. § 1981, Title VI of the Civil Rights Act of 1964, the Equal Protection

Clause, and other laws not at issue on this motion. 88

       Around the time of filing the Complaint, Plaintiffs also sought a preliminary injunction

that was different from the one they seek here. In the first motion, Plaintiffs sought an order

requiring the City to maintain a substantially similar traffic plan during the 2018 Black Bike

Week as the one it maintains during Harley Week. 89 This Court (Quattlebaum, J.) denied

preliminary relief. Without venturing an opinion as to whether Plaintiffs ultimately could make

out the required showing, it found that, “[a]t this early stage of this case,” Plaintiffs had not

“made a clear showing that the participants at Harley Week and Bikefest are similarly situated

due to the differences in the two events.” 90 Since that decision, the parties have proceeded

through a substantial portion of discovery. The record now is considerably fuller, permitting

Plaintiffs to present substantial evidence in support of its motion and the City has had ample

notice of Plaintiffs’ plan to renew the motion for preliminary injunction. Plaintiffs now seek a

more streamlined injunction, which would bar the City only from employing the 23-mile traffic

loop beginning at 10 p.m. For the purposes of this motion, Plaintiffs do not challenge the other

City restrictions on Black Bike Week that are alleged in the Complaint.

                                           ARGUMENT

       To obtain a preliminary injunction, a movant “must establish [1] that he is likely to



88
   See First Am Compl. at 47-51 (Doc. 84).
89
   See 2018 Op. & Order, at 1 (“Opinion”) (Doc. 50).
90
   Id. at 8.
                                                  18
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succeed on the merits, [2] that he is likely to suffer irreparable harm in the absence of

preliminary relief, [3] that the balance of equities tips in his favor, and [4] that an injunction is in

the public interest.” 91 Plaintiffs satisfy each of these elements.

        While Plaintiffs could succeed under either standard, they submit that the injunction they

seek would do no more than maintain the status quo and thus should be considered prohibitory

rather than mandatory in nature. 92 By this motion, Plaintiffs only seek to enjoy the City from

implementing—at considerable manpower and other expense—the 23-mile, one-way loop that

has proven to be purposely discriminatory, to have severely discriminatory effect, and to serve

no legitimate purpose. Plaintiffs will establish that the City continues imposing the loop at least

in part because of consideration of race; that they will suffer irreparable harm if it is not

enjoined; and that the City will not suffer any harm if the loop is enjoined.

I.      Plaintiffs Are Likely to Succeed on the Merits of Their Discrimination Claims

        Plaintiffs are likely to succeed on the merits of their challenge to Defendants’ continued

use of the 23-mile traffic loop. The gravamen of Plaintiffs’ claims, as relevant to this motion, is

that the race of Black Bike Week attendees influenced Defendants’ enactment and perpetuation

of the traffic loop. The evidence overwhelmingly supports Plaintiffs’ prima facie case that racial

prejudices and fears have played some role in motivating the City to enact and continue the loop,

even as the City’s supposed justifications for the loop—that it serves to combat crime and

improve traffic flow—have become increasingly untenable. The disconnect between the stated

purposes of the loop and its actual effects further prevents Defendants from satisfying their

burden of showing that they would have enacted and maintained the loop without regard to race.



91
   Centro Tepeyac v. Montgomery Cty., 722 F.3d 184, 188 (4th Cir. 2013) (quoting Winter v. Nat.
Res. Def. Council, Inc., 555 U.S. 7 (2008)).
92
   See Pashby v. Delia, 709 F.3d 307, 320 (4th Cir. 2013).
                                                   19
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       Under the framework for evaluating intentional discrimination claims set forth in

Arlington Heights and its progeny, 93 Plaintiffs’ initial burden is to establish that race was “a

factor” that motivated enactment of the challenged policy—here, the traffic loop. 94 They need

not show that race was the only factor or even the predominant factor. 95 Nor must they show that

Myrtle Beach, or its officials, “harbored racial hatred or animosity toward” African Americans,

only that racial considerations infected their decision-making. 96

       Once a plaintiff establishes that race played some part in the policy’s enactment, the

burden shifts to the defendant to show the policy would have been enacted without regard to

race. 97 Plaintiffs easily meet their burden; Defendants cannot come close to meeting theirs.

       A.      Plaintiffs Satisfy Their Burden of Demonstrating That Race Played Some
               Role in the Enactment and Continuation of the 23-Mile Traffic Loop

       Because government officials rarely admit to intentional discrimination, courts conduct a

“sensitive inquiry” into their motivation, closely examining the available evidence for a variety

of established indicia of intentional discrimination. 98 Arlington Heights sets out “a nonexhaustive

list of factors to consider” including: the “impact of the official action—whether it bears more



93
   The same intent analysis applies to all Plaintiffs’ intentional discrimination claims. See Elston
v. Talladega Cty. Bd. of Educ., 997 F.2d 1394, 1406 n.11 (11th Cir. 1993) (Title VI analysis
duplicates that of equal protection); Chiles v. Crooks, 708 F. Supp. 127, 132 (D.S.C. 1989)
(section 1981 claim requires proof of race-based discrimination). Title VI requires proof “that the
defendant received federal financial assistance” in addition to proof “that the defendant engaged
in intentional discrimination based on race, color, or national origin.” Callum v. CVS Health
Corp., 137 F.Supp.3d 817, 844 (D.S.C. 2015). Plaintiffs do not understand there to be any
dispute that this federal-funding element is met.
94
   N.C. State Conference of NAACP v. McCrory, 831 F.3d 204, 220, 233 (4th Cir. 2016); Vill. of
Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 265 n.11.
95
   Id.
96
   McCrory, 831 F.3d at 233; accord Garza v. Cty. of L.A., 918 F.2d 763, 778 (9th Cir. 1990)
(Kozinski, J., concurring in part and dissenting in part) (intentional discrimination by officials
does not require that they personally harbor “dislike, mistrust, hatred or bigotry” based on race.).
97
   Id. at 233; Hunter v. Underwood, 471 U.S. 222, 228 (1985).
98
   McCrory, 831 F.3d at 220.
                                                  20
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heavily on one race than another”; the “historical background” of the decision; the “specific

sequence of events leading up to the challenged decision”; statements made by and to officials

regarding the event, including “contemporary statements by members of the decisionmaking

body”; and departures and deviations “from normal procedural sequence” or how the same

policymakers usually act, “particularly if the factors usually considered important by the

decisionmaker strongly favor a decision contrary to the one reached.” 99

       Here, the Arlington Heights factors demonstrate that racial considerations infected the

City’s decision to impose the traffic loop for Black Bike Week. While discussed separately

below, they must be considered collectively. 100 Here, the full context shows that race factored

into, and continues to factor into, the City’s decision-making surrounding the loop.

               1.      Imposing a 23-Mile Traffic Loop Only for Black Bike Week
                       Disproportionately Impacts Black Visitors to Myrtle Beach

       The first Arlington Heights factor, the policy’s disproportionate racial impact, powerfully

suggests a racial motivation. The traffic loop is tailored to apply only during Black Bike Week,

the only major Myrtle Beach event attracting predominantly African-American visitors. It creates

a profoundly different, far more unpleasant environment for the predominantly African-

American attendees of Black Bike Week than the one that Myrtle Beach offers its predominantly

white visitors every other weekend of the year. Indeed, City officials have acknowledged that it

is intended to have such an effect, in order to diminish interest in attending Black Bike Week.

       Such a disproportionate impact based on race, “provide[s] an important starting point.” 101




99
   Arlington Heights, 429 U.S. at 266-68; see Sylvia Dev. Corp. v. Calvert Cty., Md., 48 F.3d
810, 819 (4th Cir. 1995).
100
    McCrory, 831 F.3d at 233 (“Any individual piece of evidence can seem innocuous when
viewed alone, but gains an entirely different meaning when considered in context.”).
101
    Arlington Heights, 429 U.S. at 266.
                                                21
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“[T]he impact of an official action is often probative of why the action was taken in the first

place since people usually intend the natural consequences of their actions.” 102 Here, the “natural

consequence[]” of imposing a highly disruptive traffic loop for the one weekend each year that

sees predominantly African-American visitors is to discourage African-American tourism.

        The loop dramatically degrades the Black Bike Week experience. Anyone headed to

Ocean Boulevard, the hub of Black Bike Week festivities and where the majority of hotels in the

area are located—and anyone seeking to leave—during loop hours must literally drive in a circle,

in traffic moving extremely slowly, unable to get off except at a few select points. On average, it

takes more than four hours for any driver forced into the loop to make it to the other end. Those

unaware of the loop in advance, or who fail to adequately plan for it, suffer a nightmarish end to

their evening, trapped in their cars or on their motorcycles for hours. Those with advance

warning alter their plans to avoid it. Some turn in early, avoiding Ocean Boulevard (and much of

Black Bike Week festivities) and confining themselves to their hotel rooms. Others stop

attending Black Bike Week altogether. All of the mostly African-American participants are

denied the typical Myrtle Beach evening experience available other weekends, including ready

access to the City’s restaurants, entertainment venues, and hotels.

        There is no evidence to suggest that, other than their skin color, there is anything

different about the visitors in town for Black Bike Week than those in town throughout the rest

of the summer. The data shows that other summer weekends have the same or more people in

town, and cars on the road. 103 Yet Myrtle Beach only employs the traffic loop only during the

one weekend when predominantly white Myrtle Beach hosts predominantly African-American



102
    Reno v. Bossier Par. Sch. Bd., 520 U.S. 471, 487 (1997).
103
    See Ex. 66 (Clarke Rep.) at 14-15 (discussing hotel occupancy rates); id. at 15-26 (discussing
traffic counts); Ex. 4 (COC_000003-11) (estimating amounts of tourists in town).
                                                 22
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attendees. 104 That creates the obvious inference that the City intends to offer that weekend’s

attendees a very different, inferior experience based at least in part on race. 105 City officials

know they attract predominantly African-American attendees for Black Bike Week; that they are

imposing a traffic plan for that weekend and no other; and that the loop makes the City

dramatically less welcoming for that weekend’s attendees. Where a public entity intentionally

treats differently (and more harshly) a group that it knows is predominantly of one race, one can

readily infer that race played some part in that decision. 106

                2.      Myrtle Beach’s 23-Mile Traffic Loop Is Just the Latest Iteration of a
                        Long History of Discriminatory Treatment of Black Bike Week

        The City’s 23-mile traffic loop is just the latest in a long series of official policies aimed

(often explicitly) at disrupting Black Bike Week. “A historical pattern of laws producing

discriminatory results provides important context for determining whether the same

decisionmaking body has also enacted a law with discriminatory purpose.” 107 Here, City officials

have expressed hostility toward the event, and acted accordingly, since at least 1998, when

officials imposed the first restrictive traffic plan. This Court found an earlier version of that plan

to be likely based on intentional race discrimination. 108 Subsequent events have only confirmed

that racial considerations have long influenced the City’s hostile treatment of Black Bike Week.

        The City’s discriminatory treatment of Black Bike Week is as old as the event’s presence




104
    Ex. 66 (Clarke Rep.) at 1; Ex. 10 (Pedersen Dep.) at 296:2-10 (“this is the only application of
a loop”).
105
    See McCrory, 831 F.3d at 230 (finding it probative that legislature “enacted legislation
restricting all—and only—practices disproportionately used by African Americans”).
106
    See id. at 225-26 (finding it relevant that North Carolina legislature, when taking actions it
claimed were aimed at achieving partisan rather than racial results, “certainly knew” that race
and party were highly correlated).
107
    McCrory, 831 F.3d at 223-24.
108
    Ex. 26 (2005 Op. & Order) at 13-15.
                                                  23
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in Myrtle Beach. As the event expanded beyond Atlantic Beach and into Myrtle Beach in the

mid-1990s, the City’s white leadership demonstrated animosity toward the event and openly

stated a desire to end it. The City’s hostility toward Black Bike Week has been consistent in the

years since, expressed in a series of actions designed to disrupt the event. Indeed, even as they

defend their current policy, today’s City officials acknowledge that their past, yet related,

policies for the event have been problematic.

        For example, former Mayor Mark McBride set the tone for racially charged and

unnecessarily aggressive policing of Black Bike Week, lobbying the state of South Carolina to

deploy the National Guard to Myrtle Beach for Memorial Day weekend. Thomas Leath, who

later would become city manager, testified that he opposed that request precisely because he was

concerned about its obvious racial overtones. 109 That plan was abandoned, but the City instead

introduced a restrictive traffic plan that was only implemented during Black Bike Week.

        After that plan was found likely unconstitutional, the City entered a settlement agreement

precluding it from imposing different traffic patterns for Black Bike Week and the comparable

Harley Week. While that settlement was in place, the City was unable to target Black Bike

Week, so instead it passed a series of ordinances heavily regulating both Harley Week and Black

Bike Week. Soon after the settlement ended, the City imposed the Black Bike Week-only

restrictions at issue in this lawsuit. And they tried to go further: Once again seeking to call in the

National Guard, the same step that Leath earlier opposed because of its racial connotations. 110

        The traffic loop thus must be viewed as the latest shot in a long-running war that the City

has fought against Black Bike Week. That larger context reveals that, at every step, the City and



109
  Ex. 3 (Leath 2019 Dep.) at 254:23-55:8, 265:12-22.
110
  Ex. 10 (Pedersen Dep.) at 342:17-44:19 (noting that Pedersen never considered asking the
National Guard to be present for any other event or weekend in the City of Myrtle Beach).
                                                  24
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its residents have overreacted to any violent crime that happens to occur during Black Bike

Week and used it as a reason to curtail an event that they always barely tolerated. 111 It confirms

that race has always lurked just below the surface of the City’s Black Bike Week policies.

        As former Police Chief Warren Gall acknowledged, Black Bike Week has always

engendered an “unexplained fear” among many of Myrtle Beach’s citizens, who “assign[] certain

types of behaviors to the event and based upon race that had no basis of fact.” 112 That history

frames the consideration of whether race plays some part in the imposition of the present loop.

               3.      The Sequence of Events Leading Up to the Enactment and Continued
                       Use of the 23-Mile Loop Suggests Discriminatory Intent

        Against that historical background, City officials imposed the 23-mile loop on Black

Bike Week beginning in 2015. The “process” by which they made this decision—and have

continued to impose it—confirms that the loop’s purpose has never been, as City officials now

contend, about traffic and emergency response issues. Rather, the loop has always been intended

to diminish or shut down the event, and to prevent attendees from having full access to the City.

        During Memorial Day weekend 2014, three people were killed in a shooting at a hotel on

Ocean Boulevard. No evidence links these shootings to Black Bike Week, nor is it unusual for

such crime to occur in Myrtle Beach. Nonetheless, many blamed the event on Black Bike Week,

and called on the City to end Black Bike Week using barely veiled racial language. 113 City

officials responded by looking for ways to shut Black Bike Week down or greatly reduce its

attendance. As Pedersen stated, the goal was to “suck the fun completely out of the event.” 114



111
    See Ex. 9 (Gallagher Rep.) at 14-15, 19-20 (discussing the overestimation of “danger” and the
impact of racial stereotyping in the City’s focus on crime during Black Bike Week).
112
    Ex. 30 (Gall Dep.) at 68:14-70:6; see also Ex. 43 (Kruea Dep.) at 150:15-151:8, 152:12-21,
153:9-154:1 (recognizes racial undertones in emails).
113
    See infra Factual Background Sec. II.
114
    Ex. 10 (Pedersen Dep.) at 188:19-89:8; Ex. 52 (DEF00015624).
                                                 25
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        Thus, the traffic loop was formulated as part of an effort to discourage people from

attending and enjoying Black Bike Week; unsurprisingly, it has had exactly those effects. Further

illuminating the City’s intentions is its failure to seriously study whether the loop reasonably

accomplishes legitimate ends. Before enacting the loop, the City conducted no meaningful

analysis of traffic demand, how the loop would affect traffic flow, emergency response times, or

whether other, less intrusive means would accomplish legitimate purposes. Since then, the City

has made no serious attempts to measure the loop’s effects, notwithstanding public complaints

(and this lawsuit). The first use of the data it had in its possession was in response to Plaintiffs’

first motion for preliminary injunction—and their analysis, on its face, did not show the loop was

effective at forwarding their recently identified goals.

        Rather than acknowledging the loop’s actual, severely detrimental effects on Black Bike

Week visitors, City officials insist—despite overwhelming evidence to the contrary—that such

effects do not exist. Nor are they willing to consider alternatives that would meet their ostensible

goals or otherwise reconsider their decision to institute a 23-mile loop based on new evidence.

        The obvious inference is that the City is content with the traffic loop’s actual,

discriminatory results and unconcerned about whether it accomplishes its purported purposes,

strongly suggesting that those stated reasons are pretextual. 115 Moreover, City officials’ reliance

on their own subjective “observations” rather than readily available, objective data that could

better inform their own purported reasoning is itself suggestive of discriminatory intent. 116




115
    See Smith v. Town of Clarkton, N.C., 682 F.2d 1055, 1065 (4th Cir. 1982) (that town’s
“alleged interests” were “almost wholly pretextual” suggested discriminatory intent).
116
    See supra Factual Background Sec. IV; cf. Garrett v. Hewlett-Packard Co., 305 F.3d 1210,
1217 (10th Cir. 2002) (in employment, excessive use of subjective criteria is indicia of pretext);
Bell v. Bolger, 708 F.2d 1312, 1319-20 (8th Cir. 1983) (“subjective promotion procedures are to
be closely scrutinized because of their susceptibility to discriminatory abuse.”).
                                                  26
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               4.      Statements Made By and To Officials Regarding Black Bike Week
                       Suggest Discriminatory Intent

        Statements made by and to City officials regarding the purported need for the traffic loop

further demonstrate that racial considerations infected their decision-making. Myrtle Beach

residents and tourists put heavy pressure on City officials to find a way to shut down Black Bike

Week because of their virulent distaste for the people attending the event. Many of their

statements used language that has clear racial overtones. For example, both before and after the

2014 shootings that purportedly justify the traffic loop, complaints were made to City officials

describing the predominantly black crowd as criminals and criticizing the influx of black music,

culture, and bodies entering their predominantly white space. 117

        As courts have recognized and the expert report of Professor Charles Gallagher has

explained, references to “crime” and “loud music” and “values” are clear code words for race. 118

Such comments do not have to “use[] explicitly racial language” for their racial connotations to

be apparent. 119 That these statements were made by residents to City officials, rather than by

City officials themselves, makes them no less relevant. Myrtle Beach officials stay “well plugged

into [their] citizens” in formulating policy and “hear from them oftentimes about what the

citizens are concerned about.” 120 The loop was, at least in part, a “response to the vocal and



117
    See supra Factual Background Secs. I, II.
118
    See, e.g., Greater New Orleans Fair Hous. Action Ctr. v. St. Bernard Par., 648 F. Supp. 2d
805, 812 (E.D. La. 2009); Ex. 9 (Gallagher Rep.) at 7-8 (noting that 50% of whites rate blacks as
more prone to violence than whites, and describing how the “stereotypes of blacks as criminals is
widely known and is deeply embedded in the collective consciousness of Americans, irrespective
of level of prejudice or personal beliefs”) (internal quotation marks omitted).
119
    Mhany Mgmt., Inc. v. Cty. of Nassau, 819 F.3d 581, 608-09 (2d Cir. 2016) (stated concern
that zoning change would alter city’s “flavor” and “character” were “code words for racial
animus”); Smith, 682 F.2d at 1066 (pointing to “camouflaged racial expressions”) (internal
quotation marks omitted).
120
    Ex. 10 (Pedersen Dep.) at 30:14-31:7; see id. at 32:11-34:4 (describing City’s processes for
ensuring city council is informed of public opinion).
                                                 27
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racially influenced opposition” to Black Bike Week by constituents. 121 “Private biases may be

outside the reach of the law, but the law cannot, directly or indirectly, give them effect.” 122

        Moreover, as described above, City officials have made similar statements throughout

Black Bike Week’s history, confirming that (like their constituents) they understand the traffic

loop’s purpose to be opposing the event and trying to diminish it or eliminate it altogether.

Asked whether his goal was to discourage people from attending Black Bike Week, Pedersen

answered that Black Bike Week “would be a more safe event if there were fewer participants

involved” and acknowledged the City would prefer not to host it. 123 City officials regularly

exaggerate the number of Black Bike Week attendees and the attendant crime, 124 further

confirming that their perceptions and actions are colored by race. 125

        Not only do these statements make clear the extent to which racially-tinged views of the

event’s attendees influenced official decision-making, they also confirm that city officials



121
    Mhany, 819 F.3d at 606.
122
    Id. (quoting Palmore v. Sidoti, 466 U.S. 429, 433 (1984)); Innovative Health Sys., Inc. v. City
of White Plains, 117 F.3d 37, 49 (2d Cir. 1997) (“[A] decision made in the context of strong,
discriminatory opposition becomes tainted with discriminatory intent even if the decisionmakers
personally have no strong views on the matter.”); Marks v. City of Chesapeake, Va., 883 F.2d
308, 312 (4th Cir. 1989) (zoning board denied application in part because of religious prejudice
expressed by members of the public); Smith, 682 F.2d at 1065 (evidence indicated that town
officials’ action “resulted directly from the community’s deeply-felt, intentional, invidious racial
animus”).
123
    Ex. 10 (Pedersen Dep.) at 182:2-21.
124
    Id. at 138:17-40:15; Ex. 30 (Gall Dep.) at 144:24-47:2 (discussing the “sheer numbers and the
sheer numbers of [criminal] violations” during Memorial Day weekend); see also Ex. 79
(Lazarus Dep.) at 113:1-9 (Horry County official claiming that there are 500 people in town
during Black Bike Week for each person in town during other summer weekends).
125
    See Doe v. Vill. of Mamaroneck, 462 F. Supp. 2d 520, 549 (S.D.N.Y. 2006) (finding it
relevant to discriminatory intent that town officials “stigmatized the day laborers in repeated
public pronouncements, grossly exaggerating their numbers, asserting—without any basis in
fact—that they were not residents of the Village and accusing them—again without any basis in
fact—of engaging in criminal and disorderly conduct”); see also Ex. 9 (Gallagher Rep.) at 12-15
(explaining the tendency of whites to over-count the size of African-American populations and
to feel threatened by increasing African-American group size).
                                                  28
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intended the 23-mile loop to have exactly the result it has had: not to improve traffic flow, not to

combat crime, but to drive Black Bike Week visitors out. As the leader of the Downtown

Redevelopment Commission wrote (in a message that was circulated to all city council

members), after walking through options that included closing streets and increasing police

presence: “The bottom line is that we MUST make it very UNCOMFORTABLE for them to be

here.” 126 Myrtle Beach’s residents and officials thus understood quite well what the City now

tries to deny: the 23-mile traffic loop is designed to suppress attendance at, and ultimately

eliminate altogether, the one major event each year that attracts a predominantly black crowd. 127

               5.      The 23-Mile Traffic Loop Significantly Departs From How Myrtle
                       Beach Treats Other Large Gatherings

        Another Arlington Heights factor that suggests discriminatory intent here is deviation

from how the same policymakers usually act in comparable situations, “particularly if the factors

usually considered important by the decisionmaker strongly favor a decision contrary to the one

reached.” That describes the situation here.

        Black Bike Week is just one of many large gatherings that come to Myrtle Beach each

year, yet it is the only one for which the City feels the need to impose a 23-mile traffic loop. No

other major, predominantly white event has ever been subject to such restrictions. The City has

declared Black Bike Week an “extraordinary event” to justify its extraordinary treatment, but has

offered no rationale as to why Black Bike Week alone warrants this designation, even as Harley




126
   Ex. 51 (DEF00705357).
127
   The City’s primary source of outside information were the opinions of other law enforcement
officers from jurisdictions where large African-American events took place, with a focus on what
techniques had been used to discourage attendance at those events. Ex. 30 (Gall Dep.) at 164:5-
20, 229:10-31:16; Ex. 3 (Leath 2019 Dep.) at 239:11-42:24.
                                                 29
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Week and other events have drawn comparable numbers of people to the area. 128

        While Black Bike Week has repeatedly been subjected to a restrictive traffic plan and an

overwhelming police presence, events attended by majority-white crowds have not received such

treatment. Other events, instead, receive traffic plans more precisely targeted to the actual traffic

concerns they raise, not seriously hindering attendees’ enjoyment of the events. For example, the

City closes a portion of Ocean Boulevard for the Carolina Country Music Festival (the audience

actually stands on Ocean Boulevard) and posts officers to keep traffic on a designated through

street. 129 It does not institute a traffic loop to keep attendees and other drivers from passing

through the City altogether, even though average response times are higher during other busy

weekends than those for Memorial Day weekend. 130

        Plaintiffs’ experts all concluded that there is no legitimate justification for this difference

in treatment. 131 The City, meanwhile, has offered no valid justification for the glaring differences

in treatment and has repeatedly refused to reconsider its approach. 132 Indeed, Mitchell Brown

and Willie Williams, Plaintiffs’ experts and retired police chiefs, concluded that the City’s

imposition of the 23-mile loop “could only have been designed to frustrate motorists and

discourage potential visitors from traveling to the area.” 133

        Put simply, the City’s loop demonstrates (to put it charitably) utter indifference to

whether attendees of Black Bike Week have a pleasant experience. This attitude is at odds with



128
    See supra Factual Background Sec. IV; Ex. 66 (Clarke Rep.) at 14-15 (occupancy rates not
higher for Memorial Day weekend); id. at 15-18 (traffic counts not higher for Memorial Day
weekend).
129
    See Ex. 10 (Pedersen Dep.) at 148:22-51:16.
130
    See supra Factual Background Sec. IV.
131
    Ex. 66 (Clarke Rep.) at 38-41; Ex. 80 (Brown & Williams Rep.) at 8-9; Ex. 9 (Gallagher
Rep.) at 19-21.
132
    See supra Factual Background Sec. IV.
133
    Ex. 80 (Brown & Williams Rep.) at 13.
                                                  30
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the City’s normal, hospitable approach to visitors (as befits a tourist town). A governmental

entity’s departure “from values it would normally prioritize,” without reasoned explanation,

contributes to the inference that the race of the affected people played a role in the policy. 134

                                   *       *       *      *       *

        Plaintiffs are likely to establish by a preponderance of the evidence that race played some

role in the City’s inexplicable imposition of a traffic loop that frustrates the attendees of Black

Bike Week and serves no obvious purpose. The decision to impose this otherwise irrational loop

on Black Bike Week, and no other event, speaks for itself, while comments by residents, tourists,

and City officials confirm that the traffic loop is meant to have discriminatory results.

        As Professor Gallagher explains, the City’s conduct suggests Myrtle Beach—a

traditionally “white” community—does not want to be racially “branded” as “a black

destination” for Memorial Day weekend. 135 Uncomfortable with sharing space with a large

number of African-American visitors, City officials and residents overestimate the number of

Black Bike Week visitors, exaggerate their criminality, and otherwise act irrationally and

fearfully towards them. Their insistence that Black Bike Week draws the biggest crowd of the

year and causes unusual traffic problems when the data show otherwise is consistent with

sociological research establishing that African Americans can become hypervisible to whites

living in racially segregated areas, making groups of African Americans “seem larger and more




134
    See Cent. Ala. Fair Hous. Ctr. v. Magee, 835 F. Supp. 2d 1165, 1188-89 (M.D. Ala. 2011),
vacated as moot, 2013 WL 2372302 (11th Cir. May 17, 2013); Arlington Heights, 429 U.S. at
267 (finding it relevant if “the factors usually considered important by the decisionmaker
strongly favor a decision contrary to the one reached”).
135
    Ex. 9 (Gallagher Rep.) at 18-19.
                                                  31
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menacing.” 136 Given these common unconscious biases, the City’s refusal to review and rely on

objective data amounts to a surrender to racial prejudice. The evidence establishes that racial

considerations underpin the decision to implement and maintain the 23-mile loop.

        B.     The City Cannot Meet Its Burden of Establishing That It Would Have
               Enacted and Continued the 23-Mile Loop Regardless of Race

        Because Plaintiffs have established that race played some part in the City’s decision to

enact a 23-mile traffic loop applicable only to Black Bike Week, the burden shifts to the City to

show that it would follow the same policy regardless of consideration of race. It cannot come

close to making that showing, given the extreme disconnect between its stated reasons and the

actual evidence regarding the traffic loop’s effects.

        Once plaintiffs establish that race played some role in the challenged action, this Court

“must scrutinize the [defendant’s] actual non-racial motivations to determine whether they alone

can justify the [defendant’s] choices.” 137 As part of this inquiry, the court must “consider[] the

substantiality of the state’s proffered non-racial interest and how well the law furthers that

interest.” 138 It is insufficient that the reasons proffered are “plausible” or “not unreasonable”; the

defendant must establish that they actually justify the action taken, without regard to race. 139

        Here, there is no evidence that the 23-mile traffic loop furthers the City’s proffered

interests in public safety and improved traffic flow at all, much less to a degree that warrants

such disruption to the experience of attending the one major African-American event that comes

to the City each year. Rather, the loop is a “solution[] in search of a problem” to solve, leaving



136
    Id. at 12-13 (internal quotation marks omitted). For example, Professor Gallagher discusses
how the average American estimated that the percentage of the black population in the United
States is three times larger than it actually is. Id.
137
    McCrory, 831 F.3d at 221 (emphasis added).
138
    Id. at 233-34.
139
    Id. at 234 (internal citation and quotation marks omitted).
                                                  32
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the obvious inference that the true “problem” it solves is having a large number of African-

American attendees mixing with a predominantly white city. 140

        There was no basis for the City’s original justification for the imposition of the 23-mile

loop—to stop people from coming to Myrtle Beach for this event. And there is similarly no basis

now for the City’s post hoc, conclusory assertions that the loop somehow improves traffic

congestion and emergency vehicle response times; to the contrary, the evidence overwhelmingly

establishes that the loop only increases traffic congestion and has no significant impact on

response times. In the opinion of both Chiefs Brown and Williams and traffic expert Dr. Clarke,

the traffic plan serves no useful purpose, does not enhance safety or traffic control, and instead

degrades traffic flow. 141

        As Dr. Clarke explains, Myrtle Beach did not design the traffic loop by reference to

established best practices for managing traffic flow during large public events that rely on open

roads, such as motorcycle rallies. 142 Instead, the City designed the traffic loop by reference to

practices for very different, more closed events such as presidential inaugurations or major sports

events, i.e., where traffic logically is funneled to one place and “security tends to outweigh

inconvenience to the non-attendee public.” 143 Thus, by its very design, the traffic loop degrades

the experience of being on the road rather than enhancing it.

        The only purpose served by such a long loop around the city (rather than one cutting

through the city) is to “discourag[e] travel to the City of Myrtle Beach and along Ocean

Boulevard,” 144—a motive that Myrtle Beach has denied but is apparent from its actions,



140
    See id. at 238.
141
    Ex. 66 (Clarke Rep.) at 38-41; Ex. 80 (Brown & Williams Rep.) at 13.
142
    See Ex. 66 (Clarke Rep.) at 9, 11-12.
143
    Id. at 12.
144
    Id. at 28.
                                                 33
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including the original attempt to impose an even longer, 40-mile loop. The only explanation City

officials have provided—that they do not want Black Bike Week traffic directed to city streets

other than Ocean Boulevard—simply restates their discriminatory intent to prevent the

predominantly African-American attendees from mixing closely with white residents rather than

justifying it. No other event’s attendees cause the City to shunt traffic out of town in this manner.

        Not only is the traffic loop ill-suited to solve the supposed “problem,” but there is no

evidence any unique traffic “problem” exists. Black Bike Week draws crowds and traffic to

Myrtle Beach, but no more so than other events, such as July 4th, when such a traffic plan is not

used. 145 Indeed, even if the City could justify its 2015 decision to institute the traffic loop by

virtue of large crowds, it acknowledges Black Bike Week’s size has declined since then, leaving

no basis for the City to continue imposing the traffic loop on a diminished event. 146 And to the

extent the City’s ability to defend the need for the loop suffers from the lack of hard data, that is

the consequence of the City’s own refusal to gather and analyze such data about Black Bike

Week traffic, before and after it instituted the loop.

        Nebulous concerns about “traffic” are often cited to justify actions with discriminatory

racial effect, and courts regularly find them insufficient where, as here, no evidence indicates

that the challenged action actually serves that interest. 147 Indeed, in previous litigation regarding




145
    See id. at 14 (occupancy rates are lower on Memorial Day weekend than at least one summer
weekend every year from 2012-2018); id. at 16-17 (at every traffic counter in the area, other
weekends have higher traffic counts than Memorial Day weekend); id. at 18 (attendance and
traffic little different from “other peak weekends”).
146
    See Ex. 10 (Pedersen Dep.) at 139:5-40:6 (acknowledging “significant reduction in the
number of individuals attending”).
147
    See, e.g., Mhany, 819 F.3d at 613-14 (finding that purported concern about traffic could not
justify zoning decision where the defendant could not establish that its action actually would
reduce traffic by any significant amount); Fla. State Conference of NAACP Branches v. City of
Daytona Beach, Fla., 54 F. Supp. 2d 1283, 1289 (M.D. Fla. 1999) (finding purported concern
                                                  34
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a similar traffic plan, the City was found not to have made a showing that its plan for Black Bike

Week “clearly reduces congestion or is more accessible to emergency vehicles.” 148

II.     Plaintiffs Will Suffer Irreparable Harm If Relief Is Not Granted

        In order to obtain preliminary injunctive relief, Plaintiffs must show that they are “likely

to suffer irreparable harm in the absence of preliminary relief.” 149 The City intends to use the

traffic loop again this year, which will inflict hardship on Plaintiffs and other Black Bike Week

attendees, reducing enjoyment of the event for those who attend and discouraging others from

attending altogether.

        The traffic loop effectively traps attendees in or near their hotels in the evening, because

getting back to the hotel by car will be so arduous. For example, Simuel Jones plans his entire

weekend around avoiding being caught in the loop, after being trapped for three hours trying to

get from a restaurant to his hotel. 150 Similarly, Cedric and Leslie Stevenson declined to venture

beyond walking distance from their hotel in the evening to avoid being trapped in the loop for

hours with Leslie’s 70-year-old mother. 151 Thus, if not enjoined, the loop will seriously disrupt

Plaintiffs’ enjoyment of Black Bike Week.

        Indeed, long-time Black Bike Week attendees like William McNeill intend to stop

attending the event altogether because the loop makes it so unpleasant. 152 Black Bike Week has

suffered diminishing attendance, as the City’s loop makes it far less enjoyable, and some




about “congestion that jeopardize[d] public safety” too “vague”) (internal quotation marks
omitted).
148
    Ex. 26 (2005 Op. & Order) at 12.
149
    Centro Tepeyac, 722 F.3d at 188 (internal citation and quotation marks omitted).
150
    Ex. 11 (Jones Decl.) ¶¶ 12-16.
151
    Ex. 73 (C. Stevenson Decl.) ¶ 15; Ex. 74 (L. Stevenson Decl.) ¶ 9.
152
    Ex. 16 (McNeill Decl.) ¶ 13 (no longer plans to attend Black Bike Week after roughly twenty
years).
                                                 35
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Plaintiffs are among those reconsidering attendance. 153 This constitutes serious, irreparable harm

for the many Black Bike Week attendees, including some Plaintiffs, who have regularly attended

the event for decades. 154 Attendance at Black Bike Week for them is not a one-time event, but a

treasured, unique, and long-standing cultural tradition; that they would seriously consider not

attending illustrates just how much the City’s traffic plan has degraded that cherished experience.

        For Plaintiffs and others who are deeply invested in the Black Bike Week community,

this threatened deprivation risks real, irreparable, and difficult-to-quantify harm. Irreparable

harm “is suffered when monetary damages are difficult to ascertain or are inadequate.” 155 While

the harm to Plaintiffs may ultimately merit damages relief as well, quantifying their losses is not

“‘a matter of simple mathematic calculation,’” making preliminary injunctive relief

appropriate. 156 Moreover, the nature of the harm here “creates the possibility of permanent loss,”

i.e., harm that is truly irreparable. 157 Applying these principles, companies regularly obtain

injunctive relief to block actions that would cost them customers or good-will, irreparable




153
    Ex. 10 (Pedersen Dep.) at 139:5-140:6; see, e.g., Ex. 81 (Kinard Decl.) ¶¶ 3-4; Ex. 82
(Lassiter Decl.) ¶¶ 4-5.
154
    Ex. 72 (N. Briggs Decl.) ¶ 3 (attended every year since the early 1980s); Ex. 12 (Johnson
Decl.) ¶ 6 (attended every year since 1996); Ex. 71 (Coleman Decl.) ¶ 3 (attended every year for
over a decade); Ex. 11 (Jones Decl.) ¶ 5 (attended every year since 2002).
155
    Multi-Channel TV Cable Co. v. Charlottesville Quality Cable Operating Co., 22 F.3d 546,
551 (4th Cir. 1994) (internal citation omitted), abrogated on other grounds by Winter v. Natural
Res. Def. Council, Inc., 555 U.S. 7 (2008); see also Superior Performers, Inc. v. Meaike, No.
1:13CV1149, 2014 WL 1412434, at *14 (M.D.N.C. Apr. 11, 2014).
156
    Multi-Channel TV Cable Co., 22 F.3d at 552 (internal citation omitted); see also
Basicomputer Corp. v. Scott, 973 F.2d 507, 511 (6th Cir. 1992) (“an injury is not fully
compensable by money damages if the nature of the plaintiff’s loss would make damages
difficult to calculate”) (emphasis added) (internal citation omitted); NAACP-Greensboro Branch
v. Guilford Cty. Bd. of Elections, 858 F. Supp. 2d 516, 526 (M.D.N.C. 2012).
157
    Multi-Channel TV Cable Co., 22 F.3d at 552 (internal citation omitted).
                                                 36
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injuries that could be compensated by damages in some part but not fully. 158 Comparable harm is

threatened here.

         Moreover, the constitutional violations the loop is likely to inflict are deemed irreparable

injury as a matter of law. 159 The City’s decision to treat Black Bike Week differently because it

brings large groups of African-American individuals to Myrtle Beach violates Plaintiffs’

constitutional right to equal protection, which “unquestionably” constitutes irreparable injury. 160

III.     The Balance of the Equities and the Public Interest Favor the Granting of a
         Preliminary Injunction

         Plaintiffs must also demonstrate that the balance of equities “tips” in their favor and that

the granting of a preliminary injunction is in the public interest. 161 Here, the equities clearly tip

in favor of Plaintiffs, who will suffer discrimination, humiliation, inconvenience, and

constitutional injury if the City is permitted to put its discriminatory traffic loop in place for

another year.

         The City, by contrast, will not be harmed by such an injunction, because there is no

evidence that the traffic loop actually serves any legitimate interest. Indeed, to the extent it ever

becomes necessary, the City could also use the flush plan it formulated last spring in the event




158
    See, e.g., id. at 552; BellSouth Telecomms., Inc. v. MCIMetro Access Transmission Servs.,
LLC, 425 F.3d 964, 970 (11th Cir. 2005); Basicomputer Corp., 973 F.2d at 511-12; Superior
Performers, Inc., 2014 WL 1412434, at *14.
159
    See Ross v. Meese, 818 F.2d 1132, 1135 (4th Cir. 1987); Jackson v. City of Aiken Hous. Auth.,
No. 1:16-cv-02831-JMC, 2016 WL 7228242, at *5 (D.S.C. Dec. 14, 2016) (granting preliminary
injunction where plaintiff had raised claims under the due process clause and section 1983);
Poindexter v. Strach, 324 F. Supp. 3d 625, 634 (E.D.N.C. 2018).
160
    Giovani Carandola, Ltd. v. Bason, 303 F.3d 507, 520-21 (4th Cir. 2002) (internal citation and
quotation marks omitted); see also Gordon v. Holder, 721 F.3d 638, 653 (D.C. Cir. 2013)
(“prospective violation of a constitutional right constitutes irreparable injury”) (internal citation
and quotation marks omitted).
161
    Centro Tepeyac, 722 F. 3d at 188, 191-92.
                                                  37
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that the Court granted Plaintiffs’ initial preliminary injunction motion. 162 Moreover, there is no

public interest in continuing a likely unconstitutional practice. 163

                                          CONCLUSION

        For the reasons set forth above, Plaintiffs’ Motion for Preliminary Injunction should be

granted.



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162
    Ex. 83 (SCDNR_001588) (“MBPD has a backup plan if the ‘loop’ is over thrown by the court
decision. Plan B is to ‘flush’ the boulevard as they have in the past. Additional officers should
not be needed”).
163
    See Centro Tepeyac, 722 F. 3d at 191-92 (“a state is in no way harmed by issuance of a
preliminary injunction which prevents the state from enforcing restrictions likely to be found
unconstitutional. If anything, the system is improved by such an injunction.”) (internal quotation
marks omitted).
                                                  38
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                                CERTIFICATE OF SERVICE

        I hereby certify that on February 22, 2019, a copy of the foregoing Motion for Preliminary
Injunction was filed and served on all counsel of record using the Court’s CM/ECF system.

                                             /s/ Peter Wilborn
                                             Peter Wilborn




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